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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

PAMELA ANNETTE BOWMAN                                *

          Plaintiff,                                 * Civil Action No.:____________________

v.                                                   * Removed from the District Court of
                                                       Maryland for Prince George’s County
JPMORGAN CHASE BANK, N.A.                            * Case No. 050200238882020

          Defendant.                                 *

*     *     *      *     *        *    *   *   *   * *    *   *    *   *    *   *   *    *     *   *   *

                                  JPMORGAN CHASE BANK, N.A.’S
                              DISCLOSURE OF CORPORATE INTEREST

          Pursuant to Federal Rule of Civil Procedure 7.1(a) and Local Rule 103.3, Defendant

JPMorgan Chase Bank, N.A. (“Chase”), hereby discloses the following: Chase is a wholly-owned

subsidiary of JPMorgan Chase & Co., which is a publicly held corporation. JPMorgan Chase &

Co. does not have a parent corporation and no publicly held corporation owns 10% or more of its

stock. However, The Vanguard Group, Inc., an investment advisor which is not a publicly held

corporation, has reported that registered investment companies, other pooled investment vehicles

and institutional accounts that it or its subsidiaries sponsor, manage or advise have aggregate

ownership under certain regulations of 10% or more of the stock of JPMorgan Chase & Co.




                                      [SIGNATURES ON FOLLOWING PAGE]




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Date: October 13, 2021                    Respectfully submitted,


                                                 /s/
                                          E. Hutchinson Robbins, Jr. (Fed. Bar No. 11927)
                                          Ariana K. DeJan-Lenoir (Fed. Bar No. 20522)
                                          MILES & STOCKBRIDGE P.C.
                                          100 Light Street
                                          Baltimore, Maryland 21202
                                          P: (410) 385-3408
                                          F: (410) 385-3700
                                          erobbins@milesstockbridge.com
                                          adejanlenoir@milesstockbridge.com

                                          Attorneys for Defendant JPMorgan Chase Bank,
                                          N.A.




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 13th day of October 2021, a copy of the foregoing

JPMorgan Chase Bank, N.A.’s Disclosure of Corporate Interest was served via first-class mail,

postage prepaid to:

         Pamela Annette Bowman
         12310 Kemmerton Lane
         Bowie, MD 20715

         Plaintiff, pro se


                                                 /s/
                                          Ariana K. DeJan-Lenoir




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